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    9                       UNITED STATES DISTRICT COURT
   10                     CENTRAL DISTRICT OF CALIFORNIA
   11   VESTIS, LLC, aka VESTIS                 CASE NO. 8:18−cv−02257−DOC−KES
   12
        CALIFORNIA, LLC., a Nevada Limited
        Liability Company and; GINVE            JUDGMENT
   13   MODAS SL, a Spanish Limited Liability
   14
        Company,

   15              Plaintiffs,
   16
             vs.
   17
        CARAMEL SALES, LTD,
   18   a United Kingdom Limited Company;
   19   DAVID POPECK; an individual; TET
        APS, a Denmark Limited Company;
   20   THOMAS SCHMIDT, an individual and
   21   DOES 1 to 50, inclusive
   22              Defendants.
   23

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   25
        AND RELATED CROSS-
        COMPLAINTS AND CROSS-
   26
        ACTIONS

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    1         On December 9, 2019, this Court issued on an Order accepting in full the
    2   Report And Recommendation of Magistrate Judge Karen Scott in which Magistrate
    3   Judge Scott recommended the imposition of terminating sanctions against Plaintiffs
    4   and Counter-Defendant Vestis LLC (“VESTIS”) and Ginve Modas, SL (“GINVE
    5   MODAS”). Dkt. 175. Accordingly, this Court entered Default Judgment against
    6   VESTIS and GINVE MODAS on their Complaint and also against them on both of
    7   the Second Amended Counterclaims brought by Counter-Claimants Caramel Sales,
    8   Ltd. (“CARAMEL SALES”), TET ApS (“TET”), David Popeck (“POPECK”) and
    9   Thomas Schmidt (“SCHMIDT”, or collectively with TET, CARAMEL SALES and
   10   POPECK, the “Counter-Claimants”). Id.
   11         Further, on February 19, 2020, this Court granted Counter-Claimants’ Motion
   12   for Partial Summary Judgment against Counter-Defendants Morgan Recchia
   13   (“MORGAN RECCHIA”) and Serge Recchia (“SERGE RECCHIA”). Dkt. 206.
   14   Among other things, this Court found that:
   15               Because Counter-Defendants have conceded liability as to each
   16               of the claims at issue in the instant Motion, and because none of
   17               the asserted defenses are applicable, the Court hereby GRANTS
   18               Counter-Claimants’ Motion for Partial Summary Judgment.
   19               Any judgment issued on this order will be awarded against
   20               Counter-Defendants Serge and Morgan Recchia (and, to the
   21               extent this order overlaps with the prior terminating sanctions,
   22               against Counter-Defendants Vestis, LLC and Ginve Modas SL)
   23               in accordance with joint and several liability; Counter-
   24               Claimants will be responsible for equitably apportioning among
   25               themselves any damages they are able to collect.
   26   Id.
   27         IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Judgment
   28   is entered in favor of Counter-Claimants and against MORGAN RECCHIA,

                                               2
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    1   SERGE RECCHIA, VESTIS and GINVE MODAS, jointly and severally, as
    2   follows:
    3         General and Compensatory Damages:                          $ 1,313,242.50
    4         Consequential Damages:                                     $ 4,703,020.40
    5         Treble Damages Under Federal RICO Act                      $ 18,048,788.70
    6         (or, in the alternative, as Punitive Damages)
    7         Attorneys’ Fees                                            $    464,988.00
    8         Prejudgment Interest:                                      $    548,683.56
    9         Unpaid Litigation Sanctions:                               $     40,866.00
   10

   11
              TOTAL                                                      $ 25,119,589.16

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   13
              IT IS HEREBY FURTHER ORDERED, ADJUDGED, and DECREED

   14
        that Judgment is entered in favor of CARAMEL SALES and POPECK and against

   15
        MORGAN RECCHIA, SERGE RECCHIA, VESTIS and GINVE MODAS, jointly

   16
        and severally, on the separate and additional claims brought by CARAMEL SALES

   17
        and POPECK as follows:

   18
              General and Compensatory Damages:                          $     534,542.85

   19
              Prejudgment Interest:                                      $     165,635.06

   20
              TOTAL                                                      $     700,177.91

   21
              IT IS HEREBY FURTHER ORDERED, ADJUDGED, and DECREED
   22
           that Counter-Claimants shall recover their costs of suit herein to the extent allowed by law.
   23
        IT IS SO ORDERED.
   24
        DATED: November 12, 2021              By:
   25                                                   Honorable David O. Carter
   26                                                UNITED STATES DISTRICT COURT
                                                     JUDGE
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